  Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 1 of 28




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          REPORT ON THE USE OF NEURONTIN FOR
          BIPOLAR AND OTHER MOOD DISORDERS
                               EXECUTIVE SUMMARY

        Bipolar disorder is a potentially devastating illness, marked by serious debilitating
comorbidities when left untreated. Fortunately, there exist a number of effective,
indicated and FDA approved treatments for bipolar disorder. All of these treatments have
demonstrated efficacy through the highest tier of medical evidence, the double-blind
placebo-controlled randomized clinical trial, considered the “Gold Standard” in the
practice of evidence based medicine. When such trials are present, evidence-based
medicine requires that they guide treatment decisions.

        Gabapentin, under the brand name Neurontin, was used extensively in the late
1990s and into the early part of this decade as a treatment for bipolar and other mood
disorders. Prior to the analysis contained in this report, this use has been difficult to
explain, as multiple double-blind placebo-controlled randomized trials have failed to
show any efficacy of gabapentin over placebo as a treatment for bipolar disorder and
other mood disorders. In fact, the scientific evidence demonstrates quite clearly that
gabapentin is ineffective as a treatment of bipolar disorder and should not be used,
especially given the fact that multiple, effective and FDA approved treatments exist for a
disease that, when untreated or mistreated, can have devastating consequences. Given all
of this evidence, recommending the use of gabapentin for the treatment of bipolar
disorder, as an addition to other mood stabilizers or as a monotherapy, is unsupported,
inappropriate and violates the principles of evidence-based medicine.

        Yet, this is precisely what the Defendants did. Despite clear knowledge of the
lack of efficacy of gabapentin, the Defendants funded numerous meetings and written
material where the use of Neurontin for bipolar disorder was deceptively recommended.
These programs and journal supplements consistently advocated the use of Neurontin for
treating bipolar disorder and suggested that there was scientific support for this
  Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 2 of 28




proposition. This advocacy for Neurontin was in direct contradiction to the known lack
of efficacy in the clinical trials, results which were usually not presented or were
presented in an inaccurate and incomplete manner diminishing their import. These
numerous presentations, which are detailed herein thanks to documents obtained in this
litigation, carried a consistent message: Neurontin was a treatment which was effective
for bipolar disorder and was safe and free of drug-drug interactions. The primary goal of
this marketing message was to convince medical practitioners of the efficacy and safety
of Neurontin in treating bipolar disorder despite the known research clearly
demonstrating lack of efficacy.

        As a direct result of the concealment or misrepresentation of critical Level 1
Evidence, many psychiatrists and mental health professionals became falsely convinced
that Neurontin was a safe and effective treatment for bipolar disorder, and many patients
were treated accordingly. However, this conclusion was based on the illusion of
scientific support, directly created by the Defendants, which was in direct contradiction to
the Level 1 Evidence that clearly and definitively demonstrated lack of efficacy. Owing
to the fraudulent claims of efficacy, many patients were inappropriately treated with
Neurontin. These prescriptions also led to a tremendous waste of precious healthcare
resources. Sadly, this pattern of distortion has continued even into this litigation, as the
“Expert Report” of Dr. Slaby previously submitted by Pfizer is incomplete (it fails to
acknowledge the existence of all negative clinical trials) and inaccurate (it claims that the
majority of clinical trials are positive when in fact they are negative).


                                    INTRODUCTION

        I have been asked to provide a report on whether gabapentin (Neurontin) is an
effective treatment for bipolar disorder and whether Parke-Davis, and later Pfizer
(“Defendants”), made materially false, misleading, omissive, incomplete and untruthful
statements throughout their marketing materials. In addition, I have been asked to
comment on the expert report provided by Dr. Andrew Slaby.

        The methodology of this report includes the review of clinical trials investigating
the efficacy of gabapentin for the treatment of bipolar disorder, case reports, marketing
materials provided to me by counsel as well as the references cited in those marketing
materials. My review also includes the report of Dr. Andrew Slaby and the references
cited therein. In addition, independent PubMed searches were conducted.

        My report contains a review of bipolar disorder, the treatments that exist, the
importance of evidence-based medicine towards the selection of those treatments, the
evidence-base surrounding gabapentin’s use for the treatment of bipolar disorder, a
discussion of the Defendants’ marketing materials as well as a review of Dr. Slaby’s
report.




                                                                                              2
  Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 3 of 28




                                     QUALIFICATIONS

        After graduating from Swarthmore College with distinction, a member of Phi
Beta Kappa and Sigma Xi, I obtained my medical degree from Yale University School of
Medicine. I completed residency training at Yale and have been treating psychiatric
patients as an attending physician since 1991. I have been on the faculty as assistant
professor of psychiatry at the University of Massachusetts Medical Center. My
subspecialty of interest is in treating individuals with complex mood disorders such as
treatment-resistant and refractory depression, and bipolar disorder. Additionally, I focus
on critical reading and appraisal of the medical literature. I have published an article on
“How to Read a Journal Article” in the February 2007 issue of The Carlat Psychiatry
Report. I started and run a journal club which meets monthly in Portland, Maine. In this
group, attending psychiatrists read journal articles with a focus on how a research piece
was conducted, not simply on what the results are. The purpose is to be able to
differentiate those studies and articles that are well supported from those that have
substantial limitations. Studying methods allows us to understand just how effective
various treatments may or may not be. We discuss contemporary techniques to delineate
effective treatments. One example is the analysis of effect sizes, such as the number
needed to treat. Here, we can calculate just how many patients need to be treated to
achieve one success. A primary focus is to decipher the medical literature in an effort to
make the best treatment decisions. Additionally, I am the program chair for education of
the Maine Association of Psychiatry Physicians.

         Attached is a list of my publications within the last 10 years. Attached is also a
list of other cases where I have testified, either in a deposition or at a trial, in the last 4
years. My hourly rate in this matter is $400/hr.


                            INEFFICACY OF GABAPENTIN

        In this discussion, I will apply evidence-based practices to analyze the lack of
efficacy of gabapentin. For a discussion of evidence-based medicine, see Clinical
Epidemiology The Essentials 4th ed.


                                        A. Background

        Bipolar disorder (previously called “Manic-Depressive Disorder”) is a mood
disorder affecting 1.5 % to 3.6 % of Americans. It is a cyclic disorder characterized by
recurrent affective states. In particular, patients with this disorder generally present with
one of the following three mood states (excluding euthymia, a “normal” mood state):

        a) Hypomania and mania describe periods of either elation or irritability. The
        manic state refers to mood disturbance which causes marked impairment in
        occupational or social functioning, can necessitate psychiatric hospitalization or
        presents with psychotic features. In contrast, a hypomanic mood episode is not
                                                                                                  3
  Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 4 of 28




       severe enough to cause marked impairment in social or occupational functioning,
       require psychiatric inpatient admission or have psychotic features. During a
       period of irritable or elated mood, other symptoms are manifest as well, such as
       inflated self-esteem or grandiosity, decreased need for sleep, increased production
       of speech, inappropriate and risky decision making and so on.

       b) Patients may present in the depressed state. Here, the individual suffers from
       either profound sadness (dysphoria) or an inability to experience pleasure
       (anhedonia). These symptoms are typically accompanied by other symptoms
       such as change in sleep, appetite, energy and so on. Indeed, bipolar individuals
       typically experience depression for much of their lives.

       c) A third mood state may be present: a so-called mixed state. Here, the patient
       presents with either hypomania or mania co-occurring with depression. Such
       mixed states are strongly associated with suicide. Individuals with bipolar
       disorder have higher suicide rates than the general population.

        Individuals suffering from bipolar disorder have increased rates of divorce, legal
problems and work-related impairment. There is substantial comorbidity with substance
use disorders; prevalence rates for co-occurring substance-related disorders range from
50 – 70 %. There are notable increases in comorbid psychiatric disorders encompassing
many diagnoses, anxiety disorders and attention deficit disorder being examples.
Furthermore, there is substantial medical comorbidity in individuals struggling with
bipolar disorder, with increased rates of both diabetes and cardiovascular diagnoses.

         Bipolar disorder, like schizophrenia, is considered a major and often severe
psychiatric disorder associated with deficits in numerous areas of an affected individual’s
life as delineated above. Accurate diagnosis leading to correct treatment is critical in
preventing the devastation this disorder can create. Delaying the diagnosis and denying
appropriate and efficacious treatment typically leads to worsened clinical outcomes.
Given the various potential comorbidities and risk of serious impairments in various
domains of personal functioning, accurate diagnosis with effective treatment is essential.
There are treatments and factors that worsen the course of bipolar disorder.
Antidepressant medication has the potential to induce mania when given to a bipolar
patient. Similarly, bipolar persons are at increased risk of mood destabilization when
taking non-psychiatric medications such as corticosteroids. Individuals suffering from
bipolar disorder are at risk of clinical decompensation in the context of factors such as
excessive stress and sleep deprivation. Additionally, substance use disorders have the
potential for worsening the course for bipolar patients.

        Bipolar patients are frequently misdiagnosed. The most common misdiagnosis is
unipolar depression (major depression). The risk of this misdiagnosis encompasses
potential treatment with antidepressants, which themselves may worsen the course of
bipolar disorder. Misdiagnosis also leads to substantial disease burden. Slightly more
than 1 in 3 bipolar patients are misdiagnosed and remain symptomatic for ten or more
years.
                                                                                             4
  Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 5 of 28




                         B. The Treatment of Bipolar Disorder

        The above notwithstanding, there are numerous treatments for bipolar disorder
that have proven efficacy, the so-called “mood stabilizers.” The ideal mood stabilizer
would demonstrate therapeutic benefit across all phases of bipolar disorder
(hypomanic/manic, depressive and mixed). Furthermore, an ideal treatment would work
both acutely and long term, preventing relapse. Unfortunately, such an ideal mood
stabilizer does not exist. A discussion of available mood stabilizers with documented
efficacy follows.

        Lithium remains a cornerstone in the treatment of bipolar disorder. It
demonstrates efficacy in acutely treating patients with hypomanic/manic symptoms as
well as mixed states. Additionally, it has demonstrated efficacy in maintenance use,
preventing recurrence. Lithium is FDA approved and has been known as an effective
treatment since the 1970s.

       Valproic acid represents another cornerstone in the treatment of patients suffering
from bipolar disorder. It has demonstrated efficacy in the acute treatment in both manic
and mixed states. FDA-approved for epilepsy, migraine prophylaxis and bipolar
disorder, this agent has many years of documented use.

        Carbamazepine, like valproic acid, is an anticonvulsant which has demonstrated
efficacy in the acute treatment of both manic and mixed states. FDA approval for a time
release form of carbamazepine occurred in early 2005 with the demonstration of efficacy
in two double-blind studies.

        Lamotrigine is another anticonvulsant that has efficacy in the treatment of bipolar
patients. This agent helps prevent recurrence into the depressive state and may also have
small efficacy in delaying relapse into the manic state. This mood stabilizer does not
have efficacy in acutely treating any of the three phases of bipolar disorder and it
typically is used in conjunction with another mood stabilizer to convey acute efficacy.
Lamotrigine was FDA-approved in 2003 for the maintenance treatment of bipolar
disorder.

        A class of medications known as “atypical” (or second generation) antipsychotics
all have documented efficacy in treating bipolar disorder. Olanzapine has demonstrated
efficacy in the acute and chronic treatment of patients with bipolar disorder in the manic
and mixed states. The combination of olanzapine and fluoxetine has demonstrated
benefit in the depressive phase of bipolar disorder. Quetiapine has efficacy in all phases
(manic, mixed and depressed) of bipolar disorder. Risperidone and ziprasidone have
documented efficacy treating the manic and mixed phases of bipolar disorder.
Aripiprazole, as well, has documented benefit in bipolar disorder. All of the above have
been FDA-approved for the treatment of bipolar disorder. As a class of medications, the
atypical antipsychotics, with the exception of clozapine, all have activity profiles
demonstrating benefit in bipolar disorders.
                                                                                          5
  Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 6 of 28




                              C. Evidence-Based Medicine

        From the discussion above, there are numerous efficacious medical treatments for
this severe psychiatric disorder. As stated earlier, bipolar disorder is a severe mental
illness. Early diagnosis helps prevent some of the devastating effects of this disorder.
Once the correct diagnosis is arrived at, treatment with an efficacious agent or agents
begins. How do we know that a given treatment works?

         Medicine has adopted a model to demonstrate, among many things, which
treatments work. This model is called evidence-based medicine and essentially
elucidates the benefit (or lack thereof) of a given treatment, so that treatment decisions
are based on scientific evidence derived from trials constructed to minimize the plethora
of biases inherent in case reports and patient observation. There are many types of
evidence which represent a spectrum of ability to demonstrate an effect. At the
extremely powerful and useful end of the spectrum, we find double-blind, placebo-
controlled randomized trials. In this experimental design, a treatment is compared
against a placebo. The design mandates that (a) neither the examiner nor the subject
know whether the active treatment or placebo is being administered, (b) that patients
receiving the treatment be compared to a group not receiving the treatment (the placebo
group) and (c) that patients be randomly assigned to either the treatment or the placebo
group. The purpose of these mandates is to minimize biases, so that any difference noted
between the two groups can be attributed to the treatment. Indeed, this is the “Gold
Standard” by which treatments are measured and is appropriately named “Level 1
Evidence.” In contrast, at the other extreme, representing the least useful and powerful
evidence, we find expert opinion typically based on clinical experience. This is graded as
“Level 3 Evidence” and is of little benefit when trying to determine the usefulness of a
given treatment. Also included in this lowest level of evidence are case reports and case
series, reporting on one or a small number of patients. Level 3 Evidence cannot be used
to determine efficacy since, without proper controls, blinds and randomization,
improvement cannot be deemed due to the treatment. Nevertheless, it is not unusual for
the lowest level of evidence to be considered a “clue” leading to follow-up that generates
Level 1 Evidence (double-blind placebo-controlled randomized trial). Level 3 Evidence
is often helpful to generate a hypothesis that can then be tested through properly designed
clinical trials. In making treatment decisions where numerous options are available, we
are to be guided by the Level 1 Evidence.

       When there are numerous treatments with and without Level 1 Evidence, we are
compelled to use those whose use is supported with the strongest evidence, i.e. those with
Level 1 Evidence. Employing high quality data for decision making permits selection of
treatments with the best data supporting efficacy. Indeed, in the United States a
pharmaceutical company is usually required to demonstrate efficacy of a treatment based
upon two randomized, double-blind, placebo-controlled trials to obtain approval from the
FDA. Therefore, a threshold exists for determining efficacy of a given treatment.



                                                                                         6
  Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 7 of 28




        There are also intermediate levels of evidence. Level 2 Evidence is comprised of
cohort and non-randomized studies. In a cohort trial, two groups or cohorts, are
identified. One group has been receiving the treatment under study while the other
cohort has not. The groups are studied prospectively, that is forward in time, with no
changes in treatment or non-treatment (i.e., the group that had been receiving the
treatment continues to receive the treatment, and the group that had not continues
treatment-free). An example of such a study would be the effect of antidepressants in
pregnancy. Here one group of women has been receiving antidepressants, while another
group has not been receiving antidepressants. Note there is no randomization, blinding or
use of a placebo, and there is the possibility of selection bias. In this example, if the
study showed that the women who had been receiving antidepressants had adverse
pregnancy outcomes, we would be unable to conclude that this was due to exposure to the
antidepressants. Instead, it is quite possible that the outcome in the group receiving
antidepressants was due to the mothers having pre-existing depression. As a result, this
study design is much less powerful than the randomized, placebo-controlled double-blind
design.

        Using an evidence-based approach to the practice of medicine allows the choice
of the most efficacious treatments for either a group of patients or an individual one. In
the case of bipolar disorder, a psychiatric illness with the potential of inflicting great
harm to affected individuals, the choice of the most effective treatment is critical.
Selection of such treatments derives from critical examination of the literature, as well as
the application of evidence-based practices. Utilizing treatments which lack evidence of
therapeutic benefit places the patient at great risk. Abdicating logical decision making
makes little sense when numerous alternatives with proven efficacy exist. We are next
poised to review the evidence-base of gabapentin treatment in bipolar disorder.

    D. Level 1 Evidence for the Treatment of Bipolar Disorder with Gabapentin

        In protocol 945-209, a Parke-Davis conducted study, gabapentin or placebo was
adjunctively added to lithium and/or valproate to assess efficacy. This protocol covered
the period of March 1996 through July 1997. Primary endpoints included change in total
score on the Young Mania Rating Scale (YMRS) and the Hamilton Depression Rating
Scale (HAM-D). Here, subjects with a diagnosis of Bipolar type 1, who remained
symptomatic despite treatment with lithium, valproate or the combination of lithium and
valproate, received either gabapentin or placebo. This protocol was a double-blind
placebo-controlled randomized design involving 146 screened subjects of which 117
patients received at least one dose of study medication. In the intent to treat analysis
(ITT) [1], it was noted that the group receiving adjunctive placebo had a statistically
significantly greater decrease in the YMRS than those receiving active gabapentin. No
differences between placebo and gabapentin were present in the HAM-D scores.

       This study ultimately was published in the journal Bipolar Disorders [2]. The
authors, Atul Pande, Jerri Crockett, Carol Janney, John Werth and Georgia Tsaroucha
were all Warner-Lambert employees.

                                                                                           7
  Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 8 of 28




        In the discussion of this paper, the authors opine that the “finding is at odds with
the numerous clinical reports (on a total of nearly 200 patients) in whom gabapentin was
ostensibly beneficial.” The authors then carried out additional data analyses. Here, the
authors factored out non-compliance and adjustment in lithium dose. Regardless of the
additional analysis, gabapentin was not statistically different than placebo. The authors
also discuss the possibility that the study group was enriched with refractory patients who
demonstrated a robust placebo response. The authors observe the exclusion of patients
who were in the depressed phase at entry. Had this group been included, the authors
opine, the outcome may have been different. The authors finally conclude that
gabapentin is not superior to placebo. This double-blind, placebo-controlled trial, when
held to the primary outcomes, clearly demonstrated that gabapentin was not superior to
placebo in improvement in either the YMRS or HAM-D.

         Protocol 945-421-291 was another Parke-Davis/Pfizer-conducted double-blind,
placebo-controlled randomized trial comparing gabapentin to placebo as an add on to
lithium, valproate, carbamazepine or any combination at stable doses. 80 subjects were
planned, with a final total of 42 subjects randomized to gabapentin (20) or placebo (22)
studied for 12 months. The primary outcome was the change in CGI severity (Clinical
Global Impression of Severity - CGIS) from baseline to 12 months. This trial included
numerous secondary outcomes. Only 50 % of the subjects completed the study with 21
drop outs for a number of reasons including lack of willingness to continue, lack of
efficacy, non-compliance and poor tolerability. The study was designed using an Intent-
To-Treat (ITT) population. However, a subpopulation of the ITT group was defined as
the “Per Protocol” group. The PP group was comprised of subjects who met additional
criteria including: 1) being between 18 and 75 years of age; 2) more than 1 (>= 2)
episodes in the past year and CGI score >=4 at visit 1; 3) HAM-D score <= 8 or YMRS
score <= 4 at visit 1; 4) received permitted concomitant medication only in the presence
of an episode during the study; and 5) had adequate compliance rate of 80 % to 120 %
during study period. The sample size in the ITT population was 41. The PP population
was comprised of only 25 patients culled from the ITT group.

         The results of the ITT population demonstrate a mean change of -0.9 in CGIS at
study completion compared with study entry for the 20 subjects who received gabapentin,
which was statistically significant. The subjects who received placebo had a mean
change of -0.5 at study completion compared with baseline, which did not reach
statistical significance. However, there was no statistical difference between the
gabapentin and placebo arms. For the original ITT group, this study demonstrated no
efficacy of gabapentin compared with placebo in change of CGIS from study completion
to baseline.

        As stated above, the PP population was a subpopulation of the ITT group. This
group was enriched with both medication-compliant and healthy subjects at study entry,
as evidenced by low scores on HAM-D and YMRS. The PP subjects who received
gabapentin demonstrated a change of -1.9 on CGIS compared to baseline. Placebo-
treated subjects showed a mean change of -0.8, which was not statistically significant. In
this subpopulation, the gabapentin-treated subjects did demonstrate statistically
                                                                                           8
  Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 9 of 28




significant improvement in CGIS compared with placebo. The creation of a subgroup is
troubling however as the PP group is a small subselection of the original ITT group.
Moreover, the exclusion of patients after randomization can defeat the very purpose of
randomization, thus introducing biases.

         Study 945-421-291 was published by Vieta, et al. in the Journal of Clinical
Psychiatry [3]. This article fails to distinguish the original ITT group from the PP
subgroup. Instead, the 25 subjects in the PP subgroup are described in the absence of the
original ITT group despite the fact that the authors falsely write that “all statistical
analyses were done by intention to treat.” [3] The authors appear to have simply ignored
the original ITT, creating an impression of efficacy from what is in reality just the PP
subgroup. If the original integrity of the ITT population had been maintained, this would
be a failed trial with the conclusion that “[t]he primary efficacy parameter did not show
statistically significant differences between gabapentin and placebo.” [4] Culling out or
“cherry picking” a subpopulation that shows efficacy in lieu of the ITT population is
dishonest, unethical and a far cry from demonstrating efficacy through the randomized
ITT population. Given the compromise of randomization and introduction of biases,
through the creation of a subgroup, it is questionable whether this study can even be
considered Level 1 Evidence.

       An analysis of other double-blind randomized placebo-controlled clinical trials
comparing gabapentin to placebo also fails to show efficacy in the diagnosis of bipolar
disorder. Though Frye et al. presented posters at the 1997 and 1998 American
Psychiatric Association (APA) annual meetings showing moderate or marked
improvement for lamotrigine and gabapentin in bipolar disorder, these were interim data.
Indeed at study completion gabapentin was not statistically different than placebo, and it
was statistically inferior to lamotrigine [5].

        Guille et al. presented a poster at the 1999 APA meeting showing lack of efficacy
for gabapentin as an adjunctive treatment for acute manic and mixed states. They
conclude: “This study did not find adjunctive gabapentin to be efficacious treatment for
refractory mania…Enthusiastic clinical acceptance of gabapentin as a mood-stabilizing
agent may be unwarranted” [6]. Pfizer and Parke-Davis were aware of this study, as they
collected and retained a copy abstract in their files, as indicated by the document’s bates
stamp.

         Finally, in March 2008 Carey et al. performed a literature review of all published
studies concerning the efficacy of gabapentin in bipolar disorders. The authors found
that, of 29 published articles discussing studies of gabapentin in mood disorders, only 4
appeared to be based on Level 1 Evidence and “[t]hese four trials provided no substantial
evidence of the efficacy of gabapentin in the treatment of bipolar disorder, or in
preventing recurrence of symptoms” [7]. Moreover, the authors concluded that:

       Cursory examination of the literature identified in this review reveals
       repeated references to a promising new treatment. Our more detailed
       examination demonstrates multiple poor quality observational studies
                                                                                          9
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 10 of 28




       which collectively represent an echo chamber encouraging utilization of
       the medication based on minimal evidence.

         It should be noted there have been positive open label case reports (Level 3
Evidence) describing the efficacy of gabapentin in bipolar disorder. Many of these were
cited by Carey at al. However, in reviewing all of the double-blind, placebo-controlled
trials (Level 1 Evidence), no efficacy of gabapentin is demonstrated. I conclude that the
clinical trial database of Level 1 Evidence consistently shows lack of efficacy of
gabapentin for the treatment of bipolar disorder. Therefore, the use of gabapentin for the
treatment of bipolar disorder, as monotherapy or adjuvant therapy, is unsupported by the
scientific evidence. This is a conclusion shared by Carey et al.

                                E. Summary of Evidence

        There is little ambiguity about the results discussed above. In none of the double-
blind trials did gabapentin demonstrate any efficacy over placebo as a treatment for
bipolar disorder and other mood disorders. Quite the opposite, the scientific evidence
clearly shows that gabapentin is ineffective as a treatment for bipolar disorder. Based on
this scientific evidence, Neurontin should never have been recommended as a treatment
for bipolar disorder.



            DEFENDANTS FRAUDULENT MARKETING CAMPAIGN

                                      A. Background

         In order to render the best possible care for patients, medical professionals must
have information on the most up-to-date and highest quality treatments. To this end,
information utilized to make treatment decisions must be accurate. The potential danger
of poor information can be devastating for patients. Information relating to excellent
patient care starts with the medical literature. Therefore, it is imperative that the medical
literature contains a complete, accurate and timely record of the scientific data relevant to
a disease state. Information also arrives to physicians through continuing medical
education (CME) meetings, grand rounds as well as interactions with colleagues.

       Unfortunately, a substantial portion of the information that physicians receive
about drug products originates from the companies that manufacture those very same
products. While the use of sales representatives provides a clear cue to the presence of a
marketing message, pharmaceutical companies also advertise their products less overtly
through promotional presentations typically by a known expert as well as “supplements”
which are published in medical journals often as an addition to an issue. These
supplements are typically not peer-reviewed and offer the drug company another venue to
market their products for the disorders to which the products are relevant.



                                                                                          10
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 11 of 28




        Even more surreptitiously, pharmaceutical companies hire medical education and
communication companies (MECCs) to present information that appears to be free from
any manufacturer influence. MECCs are typically for-profit businesses that receive
money from pharmaceutical companies to develop educational programs favorable to the
product. Typically, these programs are offered live and/or telephonically. Physicians use
these educational programs to obtain CME credits, which are a requirement for licensure.
These programs discuss the disease states relevant to the product the pharmaceutical
company seeks to promote, presenting information that appears less promotional than that
offered through FDA-regulated promotional talks. FDA-regulated promotional talks
must comply with the approval data of the product. Programs offered by MECC’s
present new information about a product typically representative of off-label (non-FDA
approved) use of the product. Highly regarded experts in the field usually present these
programs. Therefore, the information appears to be purely educational and from a trusted
source, when in fact it is simply a well-disguised marketing message. Whereas the
purpose of a marketing message is to increase the sales of a product, the purpose of
medical education is to educate physicians. In the case of medical education activities
sponsored by the Defendants, as demonstrated below, it is clear that the former goal
supplanted the latter. This sort of covert implantation of a marketing message into
medical education and literature is particularly dangerous, since physicians approach both
with their guard down assuming the materials to be free from company bias.

                    B. Review of Defendants’ Marketing Conduct

        Before delving into specific documents, it is important to note that a balanced
discussion of the evidence surrounding a drug’s efficacy must include any Level 1
Evidence if such evidence is available. There is simply no situation where medical
education benefits from an exclusion of Level 1 Evidence. However, this was a frequent
tactic of Defendants.

        A Parke-Davis memorandum dated March 10, 1998 contains a set of slides titled
“Closing the Psychiatry-Neurology Divide: Emerging Uses of Anticonvulsants, presented
at 50 CME dinners in numerous cities across the country as well as telephonically,
throughout March and April of 1998 (WLC_CBU_012564, Pfizer_TMartin_0001795).
From the set of slides, it is clear that, while the speaker might change, the message does
not. Slides from this presentation list acute mania and mood changes in epilepsy as
belonging to the “Therapeutic Spectrum” of gabapentin. More striking, a slide entitled
“Gabapentin: Indications Summary” lists bipolar disorder. The use of the word
“Indications” is misleading, as gabapentin does not and did not have an FDA approved
indication for bipolar disorder. The slide falsely mentions, “early evidence suggests
antimanic, antidepressant and mood stabilizing effects” but makes no mention of the
negative Level 1 Evidence that was available at the time in protocol 945-209. The same
presentation misleadingly concludes with a statement that “[c]ontrolled studies are
needed to support open trials and case reports” even though such a study was conducted
and it was negative for gabapentin. It is disconcerting that bipolar disorder is mentioned
as an indication for gabapentin with neither FDA approval nor data from a Level 1 trial.

                                                                                       11
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 12 of 28




Hundreds and possibly close to 1000 physicians were exposed to this message in roughly
40 different cities (WLC_FRANKLIN_0000171583; WLC_FRANKLIN_0000081633).

       “New Frontiers in Social Phobia and Bipolar Disorder”, produced by CME Inc.
and supported through an unrestricted educational grant by Parke-Davis
(WLC_CBU_028064) is from 1998. In this presentation, gabapentin is falsely referred to
as one of the “Newer Mood Stabilizers” with reports of benefit in:

            •   Mania
            •   Bipolar depression
            •   Bipolar maintenance
            •   Rapid cycling
            •   Treatment resistance
            •   Mood instability
            •   Social phobia
            •   Chronic pain

There is no discussion of the evidence to support these claims. Moreover, there is no
mention of the results of protocol 945-209 (Pande) which had already been completed
and analyzed. At the same time that this event series began, Dr. Pande had already
prepared a “Letter to the Investigators” that revealed the negative results of this trial.
Finally, the assertions of efficacy noted above, in the face of the results from 945-209,
defy the known data from the Defendants’ own Level 1 clinical trial. Unfortunately,
CME Inc. is a source for CME that many physicians believe they can rely on for accurate
information. Documents show that 5,600 psychiatrists were exposed to this information
in 30 cities from July through October (WLC_FRANKLIN_0000036437;
WLC_FRANKLIN_0000081633; CME1478-CME1748; CME0589 – CME0658).

        In a teaching monograph published in CNS Spectrums in May 1998, sponsored by
an unrestricted educational grant from Parke-Davis and entitled “Current Treatments in
Bipolar Disorder” (WLC_CBU_012274), the authors concede that “the evidence
supporting the effectiveness of…Neurontin is largely anecdotal.” Despite access to the
results of non-anecdotal study (i.e. a Level 1 study), there is no mention of the results
(nor even the occurrence) of 945-209. Instead, this statement is offered: “Studies have
shown that improved mood, lower anxiety and increased sociability were nearly twice as
frequent among Neurontin patients, when compared to placebo patients.” It is unclear
which “studies” showed this as none are cited. Statements like this lend credence to the
belief that there is an evidence-base supporting gabapentin’s efficacy for the treatment of
bipolar disorder.

       The monograph concludes with a discussion of gabapentin’s “tolerability” for the
following reason:

       “I discuss these tolerability aspects of antiepileptic drugs [only the
       tolerability of gabepentin is discussed], in light of the evidence for their
       beneficial effects on bipolar disorder…any physician can elect to try a
                                                                                        12
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 13 of 28




       medication if it’s been established as safe by the FDA for another
       indication if they have a reason to do so.”

Putting aside the results of 945-209, there is a clear elevation of anecdotal Level 3
Evidence in this concluding statement to create the illusion of solid evidence supporting
an off-label use. In light of the results of 945-209, this statement is patently
misrepresentative of the evidence-base. CNS Spectrums claims a circulation of 50,000.
(http://www.cnsspectrums.com/aspx/AuthorGuidelines.aspx).

        In a Cleveland Clinic Journal of Medicine supplement containing the proceedings
of a closed symposium held on July 24, 1998 entitled “New Treatment Strategies in
Psychiatry” (Pfizer_TMartin_0001736), made possible through an unrestricted
educational grant from Parke-Davis, gabapentin as a treatment for bipolar disorder is also
discussed. An open-label trial (Young et al.) is presented as suggesting “that gabapentin
may be an effective treatment for mania in bipolar patients.” Despite the fact that this
symposium post-dates Dr. Pande’s Letter to Investigators, there is no mention of the
results of 945-209. It is unclear how a presentation regarding gabapentin’s efficacy for
the treatment of bipolar disorder can be complete without the disclosure of the only Level
1 Evidence investigating it. Parke-Davis had 43,000 copies of this supplement printed,
38,000 to be mailed to Cleveland Clinic Journal’s “psychiatry audience” and an extra
5,000 copies that could be handed out to physicians through Parke-Davis’s door-to-door
sales force (SH_0011442).

        In 1999, Parke-Davis published a supplement in Epilepsia authored by its
employee Leslie Magnus titled “Nonepileptic uses of Gabapentin” [8]. In the section
titled “Gabapentin in Psychiatric Disorders,” there is a suggestion that the data supports
the use of gabapentin for bipolar disorder. Three “publications” are discussed including a
series of case studies, an open-label study and a case study of one patient. No mention is
made of either the 945-209 study or the Guille study. There is no rationale for discussing
these reports over, and to the exclusion of, the results of 945-209. Epilepsia claims a
circulation of 5,000 (WLC_CBU_167738).

        Dr. Pande’s own 1999 publication entitled “Treatment of Social Phobia With
Gabapentin: A Placebo-Controlled Study” [9] states that “[i]n clinical studies of patients
with epilepsy, gabapentin produced improvements in mood…” Even in an article
authored by the lead investigator of 945-209, the results are not disclosed. This is a
pretty shocking oversight. Unfortunately, Parke-Davis distributed 25,000 copies of this
publication to psychiatrists through the mail and another 125,000 to physicians through
the door-to-door sales force (WLC_CBU_134928). This is on top of a circulation of
8,000 for this journal (PFIZER_LKNAPP_0026006). By contrast, Pande’s later
publication of gabapentin lacking efficacy in bipolar disorder was published in a journal
with a circulation of only 455 (PFIZER_LKNAPP_0026006).

        The same CME Inc. slides noted above, touting gabapentin as a new mood
stabilizer with reports of benefit, were used in another CME Inc. series of events from
1999, also supported by Parke-Davis, entitled “New Frontiers in Anxiety, Substance
                                                                                          13
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 14 of 28




Abuse and Bipolar Disorders (WLC_CBU_170490). Once again, gabapentin is falsely
referred to as one of the “newer mood stabilizers.” The slide that lists the benefits of
gabapentin is followed by one summarizing the case studies involving gabapentin. Seven
case studies are listed showing improvement in the gabapentin population. Further into
the presentation, a slide presents the advantages and disadvantages of gabapentin. Under
disadvantages, “Need for controlled studies (under way)” is listed. In 1999, there were
results from controlled studies already available, yet those results are not present in this
lecture. It is unclear what controlled studies were “under way” in 1999, but it is
indisputable that results from controlled studies already existed and therefore should have
received a prominent place in any talk, including this one, that claimed to summarize the
science behind gabapentin and bipolar disorder. Instead, there is simply no mention of
these studies. The results of 945-209, constituting the best Level 1 Evidence to date,
were known to the sponsors of this event, but had not yet been published. As previously
mentioned, there is simply no valid reason for the omission of critical Level 1 Evidence.
An estimated audience of 8,500 mostly psychiatrists attended all across the country and
were exposed to these messages (PFIZER_NMANCINI_0011631).

         In 2000, Defendants distributed a CME monograph called “Spectrum of Uses of
Antiepileptic Agents: New Treatments, New Strategies.” This monograph made
numerous false statements about gabapentin’s utility in bipolar disorder. First, the
monograph states that “Gabapentin…has been used alone or adjunctively to treat bipolar
disorder, social phobia, migraine, neuropathic pain and substance abuse,” and that the
“efficacy of …gabapentin in treating these diverse conditions may be due to overlapping
mechanisms of action.” The false implication is that gabapentin is indeed effective in
treating bipolar disorder. This of course is not true, and no mention is made of the
negative Pande and Guille studies. Further in the monograph, it is stated that “Several
small studies of bipolar disorder have shown promising results with gabapentin used as
an adjunct to other psychotropic agents” (MDL_Vendors_055236). Given that this is a
CME monograph, physicians reading this for CME credit expected that they were given
scientifically up-to-date, reliable and relevant information. They would not have known
that clinical trial results such as Pande’s and Guille’s were being withheld. The
monograph doesn’t just omit Pande. It denies its existence altogether, by claiming that
the “largest study of gabapentin for this indication was a retrospective analysis of 73
patients with bipolar I or II, bipolar disorder not otherwise specified, or schizoaffective
disorder who failed to respond to or could not tolerate other medications.” The false and
misleading implication is that gabapentin had been shown to be effective, rather than
ineffective, in the “largest study” conducted to date. It should come as no surprise that
the conclusion of this so-called “largest study” is that “Rapid Cycling was eliminated in
all patients, and 67 (92%) had a positive response to the drug that was substantial enough
to allow a return to normal activities,” a result that has never been confirmed by Level 1
Evidence. Finally, the CME post-test contains a question which, in order for physicians
to correctly answer it, requires them to choose gabapentin as one of the anticonvulsants
which “have also shown mood-stabilizing proprieties…” Parke-Davis had 6,000 copies
of this monograph printed, 5,000 to be mailed to physicians and an extra 1,000 copies
that could be handed out to physicians through Parke-Davis’s door-to-door sales force
(SH_0064555.0012057).
                                                                                         14
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 15 of 28




         In 2000, Pfizer sponsored a lecture prepared by the Institute for Continuing
Healthcare Education entitled “Anticonvulsants in Psychiatry: Historical Perspectives &
New Therapeutic Directions” (VOX035086). In this lecture, gabapentin is once again
presented as scientifically supported therapy for bipolar disorder. In a slide entitled
“Psychotropic Effects of Treatments Clinically Used for Bipolar Disorders,” gabapentin
is listed as effective for both mania and depression (VOX035109). The citations on this
slide point to the open-label case studies so often referenced. Of course, by 2000, the
Defendants knew the results of both 945-209 and the Guille study. The Frye study would
also be published in 2000. In other words, there were three double-blind placebo-
controlled randomized trials that contained results unfavorable to gabapentin, yet this
lecture, using Level 3 Evidence, claims gabapentin is effective for both mania and
depression. In contrast to previous events, and after listing gabapentin as an effective
agent for mania and depression, this lecture discloses the results from 945-209 over 13
slides, 3 of which focus on the study’s “weaknesses,” implying that the results are not
reliable. No mention is made that the results are in fact confirmed by the results of
Guille. It is startling to see a presentation that ignores or criticizes the available Level 1
Evidence, yet uses Level 3 Evidence to support claims of effectiveness. Simply put,
flawed or not, the results from 945-209 should have been the first results presented along
with the results from Guille, as they were of the most import to the scientific community.

       Even more perplexing, after presenting the results of 945-209, the lecture
continues with a slide “Arguments for Use of Alternative Anticonvulsants in Bipolar
Disorder” that mentions “Evidence supporting the effectiveness of lamotrigine and
gabapentin.” The next slide, “Arguments Against Use of Alternative Anticonvulsants in
Bipolar Disorder” lists “Absence of double-blind, placebo-controlled studies.” This slide
comes after presenting 13 slides of a double-blind placebo-controlled study. The lecture
contains the same slide seen in other lectures, “Gabapentin: Advantages and
Disadvantages” which still states the “Need for controlled studies (under way).” In
addition, we find the same slide summarizing the case studies favorable to gabapentin.

       The take home points from this presentation seem to be:

           •   Gabapentin is effective for both mania and depression
           •   There are double-blind placebo-controlled results available from
               only one trial that show that placebo is more effective than
               gabapentin, but the study is fraught with weaknesses and the
               results have not been confirmed
           •   There is an absence of double-blind placebo-controlled results
           •   But, these studies are under way
           •   There are a host of case studies showing the effectiveness of
               gabapentin

This program is not merely littered with misrepresentations and inaccuracies, but is a
frank distortion of the science. To conclude that gabapentin was effective, and thus
recommend its use for the treatment of bipolar disorder, in the face of the mounting Level
                                                                                        15
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 16 of 28




1 Evidence to the contrary is not only illogical and ludicrous, but also unethical. To state
that there was an absence of quality trials is simply false. It is still unclear which studies
were “under way.”

          Another CME Inc. activity, supported by an unrestricted educational grant from
Parke-Davis (WLC_CBU_028929) from 2000 entitled “Anxiety & Bipolar Disorders:
Challenges in Current Management,” contains more of the same message. Gabapentin is
still listed as a “mood stabilizer”; reports of benefits are presented, all supported by Level
3 Evidence. There is no mention of the results of any of the double-blind placebo-
controlled randomized clinical trials. Gabapentin is summarized as:

           •   Easy to use
           •   Well-tolerated
           •   No drug interactions
           •   Useful adjunct
           •   Not primary agent for mania/rapid cycling

        This theme, that gabapentin is safe and free from drug-drug interactions, is
offered as a continual subtext throughout the activities supported by the Defendants. It
should be noted that, while safety is of great concern to a prescriber, alone it is not a
reason to prescribe a medication. As with the prior two series of CME Inc. meetings, this
series was held in dozens of cities, with an audience of more than a thousand physicians
(WLC_CBU_180343; WLC_CBU_108957; WLC_CBU_175353).

       In October 2000, the same month that the Pande study was published, Pfizer
released a CME monograph titled “Interface of Neurology and Psychiatry: Diagnostic
and Treatment Issues.” This monograph contained a section called “New Options in the
Management of Bipolar Disorders,” discussing the “possible efficacy of gabapentin in
mood disorders.” The monograph mentions that “Reports of the use of gabapentin are
primarily from open-label or retrospective studies.” This statement and the impression
created by it are both false. By this point, there was a wealth of Level 1 Evidence
showing that gabapentin was not effective. Moreover, the articles cited are the same
favorable and unreliable reports that were recycled in the earlier marketing materials.
There is no mention of Pande, Frye or Guille. Sadly, Parke-Davis distributed 7,000
copies of this CME monograph via direct mail to physicians (SH_0044769;
WLC_CBU_174105).


                               C. Cochrane Review

        The Cochrane group is an internationally known foundation that provides high
quality evidence-based reviews. Indeed, they are the premiere international repository of
clinical information. Sometime before November 5, 2001 Anne Stals of the Cochrane
group asked Dr. Pande of Pfizer for references concerning the use of gabapentin in
bipolar disorder. In an email dated November 5, 2001 Dr. Pande provides a bibliography
concerning the use of gabapentin in patients with Bipolar Disorder. He states “This list
                                                                                         16
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 17 of 28




has not been updated in several months so it should not be treated as comprehensive”
(PFIZER_APANDE_0005005). What is concerning is Pande’s obvious omission of the
Frye study published December, 2000, which demonstrated lack of efficacy of
gabapentin in Bipolar Disorder. Furthermore, Pande omitted mention of the poster by
Guille et al presented at the American Psychiatric Association in 1999. The conclusion
of the Guille poster states “This study did not find adjunctive gabapentin to be efficacious
treatment for refractory mania…Enthusiastic clinical acceptance of gabapentin as a
mood-stabilizing agent may be unwarranted.” The clinical information provided by both
Frye and Guille demonstrate results unfavorable to gabapentin yet they are omitted from
Pande’s bibliography. [6]

        On July 8, 2003, the Cochrane group again requested information from Pfizer
regarding the use of anticonvulsants in bipolar disorder. They specifically requested the
published and unpublished data regarding gabapentin in bipolar disorder. Internal emails
from Pfizer reveal a lack of cooperation in supplying this information. An email dated
December 23, 2003 from Bruce Parsons of Pfizer states: “I would not send unpublished
Neurontin data to anyone outside of Pfizer” (PFIZER_BPARSONS_0030122; Emphasis
Added). Numerous internal emails follow which continue to show an effort to withhold
this data. By February 23, 2004 an internal email from Dr. Anitra Fielding, a Senior
Medical Advisor at Pfizer global Pharmaceuticals in UK notes:

       They (Cochrane group) have requested specifically, unpublished data on
       gbp (gabapentin) in bipolar disorder and additional info on the Pande trial
       which was not incorporated into the publication (see below)…We
       appreciate everyone is busy with pregabalin activities but obviously we
       need to respond in a timely fashion in order to build trust with our
       customers – a key Pfizer initiative. If we are not willing to provide this
       information then we need to get back to the Cochrane team asap as this
       has been going on for a considerable time now and does not reflect well on
       Pfizer, and in particular from my point of view Pfizer UK, if we take 4
       months to say sorry no. If the answer is sorry no, please can I be copied on
       the global response to the Cochrane team (contact details in message
       below also in red) and equally copied in if the answer is yes and
       information sent, so that I can inform the UK team the matter is closed one
       way or another. Either way it would be much appreciated if this could be
       resolved promptly. (PFIZER_BPARSONS_0098666).

       On March 9, 2004, Lloyd E. Knapp, Pharm.D. of Pfizer Global Pharmaceuticals
asked Dr. Macritchie of the Cochrane group if it would be possible to set up a conference
call. A conference call was set up for March 23, 2004 (PFIZER_LKNAPP_0115557).
However, when the collaborators from the Cochrane group called, no one from Pfizer
was there (PFIZER_LKNAPP_0116131). Dr. Macritchie then again asked Dr. Knapp
again for the unpublished gabapentin data on November 7, 2004
(PFIZER_LKNAPP_0104674). As of the present time, the Cochrane group has been
unable to publish a review: “Due to the delay in converting this protocol to a review, it

                                                                                         17
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 18 of 28




has been withdrawn, subject to receiving the first draft of the completed review”
(http://mrw.interscience.wiley.com/cochrane/clsysrev/articles/CD003379/frame.html).

        The emails reviewed demonstrate Pfizer’s obfuscation of the data on gabapentin
as a treatment for bipolar disorder. The lack of cooperation of Pfizer with Cochrane is
best seen by the withholding of data that shows lack of efficacy. Their behavior in
withholding data from the Cochrane Group is fully consistent with all of Defendants’
other marketing schemes. If the data had demonstrated a beneficial effect of gabapentin
on bipolar disorder, Pfizer would have shared the data with Cochrane.


                         D. Summary of Defendants’ Conduct

        From review of these documents, it is clear that the sponsors and supporters of
these medical education activities and articles had an agenda other than the full disclosure
of scientific information and education of physicians. It is frightening that the
Defendants could have so pervasively and comprehensively miseducated physicians.
What is particularly chilling is how skillfully the message of gabapentin’s efficacy, a
claim that was unsupported by evidence the entirety of which, until this litigation, the
Defendants alone possessed, was presented. The use of medical education, often
delivered by trusted sources to an unguarded audience prepared to learn the unbiased
details of treatments and diseases, represents a particularly efficient vehicle for
perpetuating a false message. Medical education, be it through a CME, grand rounds or
simply physician-to-physician, cannot use a “cafeteria” approach where only select
reports are used. Medical education must be inclusive. Furthermore, there is a duty, as
an educator, to provide an education that is factually accurate and free of bias. Neither
the sponsors, nor the creators, nor the deliverers of medical education may abdicate this
duty. The Defendants completely ignored this duty, as it is clear that their motivation
was to mislead physicians into believing that gabapentin’s efficacy for bipolar was
scientifically supported. This was accomplished through both misrepresentations and
distortions of the science. The Defendants’ use of medical education activities and
scientific articles as their vehicle is deplorable.

        The tactics used in these documents included (a) clear omission of Level 1
Evidence or diminishment of its import, (b) the inappropriate elevation of anecdotal
evidence, and (c) the use of illogical and unsupported evidentiary conclusions.
Regardless, the objective was clear: to convince medical practitioners of the efficacy and
safety of gabapentin in treating bipolar disorder, despite the known research clearly
demonstrating lack of efficacy. As a direct result of this, psychiatrists and other mental
health professionals became convinced that gabapentin was a safe and effective treatment
for bipolar disorder, and many patients were treated accordingly. However, this
conclusion was in direct contradiction to the Level 1 Evidence. Owing to the fraudulent
claims of efficacy, many patients were inappropriately treated with gabapentin. The
omission of critical Level 1 Evidence falsely created a perception that Neurontin was safe
and effective in bipolar disorder. As a result, individual patients, insurance companies,
state and federal governments wasted substantial money on a product that its
                                                                                         18
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 19 of 28




manufacturer knew to be ineffective. This is money that could have been spent on the
use or discovery of truly effective treatments. It appears that a further tactic included
preventing outside parties like the Cochrane group from conducting a review which
would have contradicted the marketing messages and undercut their marketing efforts.

        In sum, the Defendants’ widespread recommendation to use gabapentin, on the
basis of purely anecdotal evidence and in contradiction to the Level 1 Evidence, for a
severe and debilitating illness such as bipolar disorder, represents the elevation of product
sales over patient care. The marketing statements used were false, misleading, deceptive,
and concealed crucial information about gabapentin that would have precluded its use.


                             DEFENDANTS’ EXPERT REPORT

        In addition to my findings and opinions above, I have been asked to review the
undated “Expert Report” of Dr. Slaby submitted by Defendants in this litigation. I do not
need to address the entire report, as only the section on pages 11-13 of the report
addresses the use of gabapentin for bipolar and other mood disorders. My initial
comment is on its face, the “Expert Report” does not appear to be utilizing any particular
method. Although it does cite to “studies” in published literature, nowhere does the
“Expert Report” identify whether any of those so-called studies are in fact randomized,
placebo-controlled, double-blind studies, nor does it segregate the studies into the levels
of evidence so that they can be appropriately analyzed. Moreover, the “Expert Report”
appears to be basing its conclusion on “case reports, nonrandomized clinical trials, and
small case studies,” and not the available randomized, placebo-controlled, double-blind
clinical trials. Based on part C of my section titled “Inefficacy of Gabapentin” above,
such an approach is unscientific, potentially biased and clearly inappropriate.

       Second, it is clear that the author of the “Expert Report” did not receive all of the
necessary Level 1 Evidence on gabapentin. He makes no reference to the negative Guille
study. Moreover, he cites only Vieta’s publication of the results of 945-421-291, which I
demonstrated above are inaccurate, rather than citing to Pfizer’s internal unpublished
analysis. Assuming that the author did not in fact know about the existence of this
unpublished information, the only conclusion is that Pfizer did not provide the
information to the author and the author was unable to obtain the information
independently.

         Third, consistent with the marketing efforts of Pfizer and Parke-Davis, the
“Expert Report” elevates the lower tiers of evidence such as case reports and anecdotes
over the Level 1 Evidence in order to falsely suggest that the evidence supporting the
efficacy of gabapentin outweighs the negative. In one paragraph, the “Expert Report”
cites to 17 different publications which “clearly indicate there may be a role for
Gabapentin, especially for the depressive component of bipolar disorder.” Of those 17
citations, only two are in fact Level 1 Evidence, and those studies (Frye and Vieta) were
negative, i.e. not supportive of the use of gabapentin in mood disorders. Missing from
this paragraph is a complete discussion of the Level 1 Evidence, including the studies of
                                                                                            19
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 20 of 28




Pande and Guille, which would have rendered the conclusion of that paragraph
unsupportable.

        Pande and Frye are both referenced in a following paragraph as two of “[o]nly a
few studies” that “have not found such promise.” However, the actual findings of Pande
and Frye are never reviewed, suggesting that these citations are equivalent to citations of
the favorable anecdotal case reports. Additionally, that paragraph fails to include the
results of Guille and 945-421-291, suggesting that the question of gabapentin’s efficacy
(or more properly inefficacy) is unsettled scientifically.

          Dr. Slaby spends much of his report advocating the use of non-FDA approved
treatments. This is not the issue. Rather, the issue is the purposeful and misleading
withholding of Level 1 Evidence which clearly and definitively demonstrates the lack of
efficacy of gabapentin in bipolar disorder.

      Based on the foregoing, the undated “Expert Report” of Dr. Slaby submitted by
Defendants is inaccurate, incomplete, unscientific and unreliable.


                                CONCLUSIONS

        By late 1997, the Defendants knew full well from their own protocol 945-209 that
there was no benefit of gabapentin compared to placebo in bipolar disorder. Indeed, after
a thorough analysis of the results, they wrote a “letter to investigators” dated July 28,
1998. This letter stated “…placebo patients showed a greater decrease in the total YMRS
score than the gabapentin patients.” Yet, they funded numerous events all around the
country which falsely stated that gabapentin was a safe and promising agent for treating
bipolar disorder. This message was consistently and repetitively delivered. As a direct
result of this, psychiatrists and other mental health professionals became convinced that
Neurontin was a safe and effective treatment for bipolar disorder and many patients were
treated accordingly. However, this conclusion is in direct contradiction to the Level 1
Evidence which clearly and definitively demonstrated lack of efficacy.

        Owing to the fraudulent claims of efficacy, many patients were inappropriately
treated with Neurontin. The omission of critical Level 1 Evidence falsely created a
perception that Neurontin was safe and effective in bipolar disorder. Substantial money
was unnecessarily spent on a product that was known by its manufacturer to be
ineffective. This is money that could have been better used in other ways.

        What is particularly shocking is the manner in which Parke-Davis and Pfizer
exploited the supposedly independent sources of information that physicians rely on for
accurate information. All physicians must participate and document ongoing continuing
medical education (CME) as a basis for licensure. The marketing of gabapentin extended
into such CMEs. As physicians, we are dependent on our CME in making clinical
decisions, and those decisions impact patient care. Additionally, what we write with our
prescription pads generates revenue for pharmaceutical manufacturers. It is startling to
                                                                                          20
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 21 of 28




what extent the makers of gabapentin were able to corrupt the CME process and conceal
from us the Level 1 Evidence that they possessed. This evidence clearly and
convincingly demonstrates lack of benefit of gabapentin in bipolar disorder. As
physicians, we must know all the data about the treatments we utilize. Defendants’
distortion and manipulation of the data (especially their failure to provide data on the lack
of efficacy) led to the widespread use of gabapentin in bipolar disorder. This cost
patients, insurance companies and taxpayers large amounts of money which should have
been spent on truly effective treatments. Additionally, failure to share data on the lack of
efficacy created a scenario where patients were prescribed gabapentin rather than another
efficacious treatment. This resulted in direct harm to patients suffering from bipolar
disorder, a severe and disabling illness.

        Lastly, I find it unsettling that Pfizer was unconcerned that physicians were
prescribing Neurontin despite the negative evidence demonstrating that such use was
ineffective. We, the physicians who treat patients with bipolar and other mood disorders,
should have been alerted to the full extent of this negative data. Instead, Pfizer
perpetuated the myth that gabapentin was safe and effective in bipolar disorder utilizing
only weak Level 3 Evidence despite the existence of known Level 1 Evidence. Pfizer
could have cooperated with the Cochrane group in completing its analysis, which may
have accelerated the comprehensive review of the evidence of Neurontin. Instead, Pfizer
appears to have blocked access to the unpublished data that the Cochrane group was
seeking, causing a delay in or possibly a withdrawal of the review. Similarly, the “Expert
Report” of Dr. Slaby submitted by Pfizer in this litigation could have, but did not, set the
record straight. Instead, the same omissions and distortions of the scientific record seen
in the marketing documents are made.




                                                                                          21
Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 22 of 28
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 23 of 28




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                                                                                   23
 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 24 of 28




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     2. Protocol 945-421-291


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     2. http://www.cnsspectrums.com/aspx/AuthorGuidelines.aspx


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     1.    CME 0478
     2.    CME 0542
     3.    CME0027-CME0034
     4.    CME0038-CME0057
     5.    CME0101-CME0108
     6.    CME0589-CME0658
     7.    CME1478-CME1748
     8.    MDL_VENDORS_054931
     9.    MDL_VENDORS_054931
     10.   MDL_VENDORS_055236
     11.   MDL_VENDORS_111010
     12.   MDL_VENDORS_111131
     13.   PFIZER_APANDE_0003413
     14.   PFIZER_APANDE_0005005
     15.   PFIZER_APANDE_0005027
     16.   PFIZER_APANDE_0005031
     17.   PFIZER_APANDE_0005049
     18.   PFIZER_APANDE_0005053
     19.   PFIZER_BPARSONS_0030122
     20.   PFIZER_BPARSONS_0098666
     21.   PFIZER_CTAYLOR_0004655
     22.   PFIZER_EDUKES_0000057
     23.   PFIZER_JSU_00022639
     24.   PFIZER_JSU_0012780
     25.   PFIZER_JSU_0022591
     26.   PFIZER_LKNAPP_0026006
     27.   PFIZER_LKNAPP_0071019
     28.   PFIZER_LKNAPP_0071188
     29.   PFIZER_LKNAPP_0071199
     30.   PFIZER_LKNAPP_0071575
     31.   PFIZER_LKNAPP_0072109
     32.   PFIZER_LKNAPP_0104674
     33.   PFIZER_LKNAPP_0107849
     34.   PFIZER_LKNAPP_0112244
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Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 27 of 28



    35.   PFIZER_LKNAPP_0112829
    36.   PFIZER_LKNAPP_0115499
    37.   PFIZER_LKNAPP_0115557
    38.   PFIZER_LKNAPP_0116131
    39.   PFIZER_LKNAPP_0138244
    40.   PFIZER_LKNAPP_0142441
    41.   PFIZER_MDANA_0001157
    42.   PFIZER_MDL_0000452
    43.   PFIZER_NMANCINI_0011631
    44.   PFIZER_TMARTIN_0001736
    45.   PFIZER_TMARTIN_0001795
    46.   SH_0011442
    47.   SH_0064555.0012057
    48.   VOX034448
    49.   VOX035086
    50.   WLC_CBU_012274
    51.   WLC_CBU_012564
    52.   WLC_CBU_028064
    53.   WLC_CBU_028929
    54.   WLC_CBU_030410
    55.   WLC_CBU_037489
    56.   WLC_CBU_072207
    57.   WLC_CBU_074388
    58.   WLC_CBU_108957
    59.   WLC_CBU_134928
    60.   WLC_CBU_167738
    61.   WLC_CBU_170490
    62.   WLC_CBU_175353
    63.   WLC_CBU_180343
    64.   WLC_FRANKLIN_0000036437
    65.   WLC_FRANKLIN_0000047735
    66.   WLC_FRANKLIN_0000052703
    67.   WLC_FRANKLIN_0000080002
    68.   WLC_FRANKLIN_0000081633
    69.   WLC_FRANKLIN_0000081633
    70.   WLC_FRANKLIN_0000098315
    71.   WLC_FRANKLIN_0000170736
    72.   WLC_FRANKLIN_0000171583
    73.   WLC_FRANKLIN_0000199743
    74.   WLC_FRANKLIN_0000199997
    75.   Excerpts of Deposition Transcripts of Atul Pande and select exhibits




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 Case 1:04-cv-10981-PBS Document 1457-12 Filed 10/06/08 Page 28 of 28




                                   Appendix A
List of Publications:
      “How to Read a Journal Article,” Carlat Psychiatry Report, Feb 2007

      Book Review, Psychiatric Services, Feb 2008

      Review, Psychiatric Services, March 2008

Cases:
      Pare vs. Spring Harbor Hospital, 2006 (Deposition)

      State of Maine vs. Janeen Miller, 2007, (Trial)

      Grover vs. Spring Harbor Hospital, 2007 (Deposition and Trial)

      Gutierrez vs. Gutierrez, 2008 (Deposition)

      Boisvert vs. Boisvert, 2008 (Trial)




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